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                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


DAVID A. STEBBINS,                                 Case No. 22-cv-04082-AGT
              Plaintiff,
                                                   ORDER TO TRANSFER VENUE
       v.

JARROD JONES,
              Defendant.



       The Clerk of the Court shall transfer this case to the United States District Court,

Central District of California. Venue in the Central District is appropriate; it is the “judicial

district in which [the] defendant resides.” 28 U.S.C. § 1391(b)(1). The Central District is

also the more convenient district. See 28 U.S.C. § 1404(a). Defendant is located in the Cen-

tral District; no party or witness is located in the Northern District of California.

       IT IS SO ORDERED.

Dated: July 3, 2024


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                                                    Alex G. Tse
                                                    United States Magistrate Judge
